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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA



 IN RE: ROUNDUP PRODUCTS                               MDL No. 2741
 LIABILITY LITIGATION
                                                       Case No. 3:16-md-02741-VC

 This document relates to:

 Donald Rose v. Monsanto Co., et al.,
 Case No. 3:20-cv-07794-VC


      MONSANTO COMPANY’S MONTHLY REPORT IN RESPONSE TO PTO
  NO. 183 RE NON-COMPLIANT LAWSUIT DIRECTLY FILED IN THIS DISTRICT
       Pursuant to Pretrial Order No. 183, defendant Monsanto Company (“Monsanto”) hereby
submits this report regarding a lawsuit that: (a) was directly filed in this district last month

(November 2020); and (b) apparently fails to comply with the personal jurisdiction and venue

requirements: Donald Rose v. Monsanto Co., et al. Plaintiff alleges that he was “at all relevant

times a resident and citizen of Montrose, Colorado.” Complaint ¶ 8. Plaintiff does not allege

any connections between his claims and the State of California.
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DATED: December 1, 2020              Respectfully submitted,


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